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 5
                            UNITED STATES DISTRICT COURT
 6                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
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 8
     NORTHWEST ADMINISTRATORS, INC.,
                                                     NO. MC20-0059RSL
 9
                       Plaintiff,

10
                 v.                                  ORDER DIRECTING ENTRY OF
                                                     JUDGMENT ON GARNISHEE’S
11
     SECURITY PAVING COMPANY, INC.,                  ANSWER

12
                       Defendant,

13
                 v.

14
     WELLS FARGO BANK, N.A.,

15
                       Garnishee-Defendant.

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17
                                           Summary
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19        Judgment Creditor:                  Northwest Administrators, Inc.
          Judgment Debtor:                    Security Paving Company, Inc.
20        Garnishee-Defendant:                Wells Fargo Bank, N.A.
          Garnishment Judgment Amount:        $2,962.90
21        Attorneys’ Fees:                    $250.00
          Costs:                              $170.00
22
          Other Recovery Amounts:             NONE
23        Percent Interest on Principal:      NONE
          Interest Rate on Costs:             NONE
24        Attorneys for Judgment
           Creditor:                          Reid, McCarthy, Ballew & Leahy, L.L.P.
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27
     ORDER DIRECTING ENTRY
28   OF JUDGMENT - 1
                 Case 2:20-mc-00059-RSL Document 8 Filed 09/18/20 Page 2 of 3



 1
            THIS MATTER coming on for consideration upon Plaintiff’s application of Judgment
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     Creditor, for judgment on the answer of Garnishee-Defendant; it appearing that Garnishee-

 4   Defendant has filed its answer herein stating that it holds funds of the Judgment-Debtor, Security

 5   Paving Company, Inc., in the sum of $2,962.90; that judgment Creditor has judgment unsatisfied
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     against the Judgment Debtor in the total amount of $2,542.90; that Judgment Creditor incurred
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     attorneys’ fees in the amount of $250.00, and costs in the amount of $170.00 as stated above; that
 8
     more than twenty (20) days have elapsed since service of the Writ of Garnishment and Garnishee
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10   Defendant’s answer thereto: that signed affidavit or return of service of the Writ of Garnishment,

11   Application for Writ of Garnishment including a copy of the judgment entered in this action,
12   indicating service upon the Judgment Debtor either by personal service or by Certified mail, is on
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     file herein now, therefore, it is hereby
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            ORDERED, ADJUDGED AND DECREED as follows:
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            1.      The Clerk of Court is directed to enter judgment in favor of the Judgment Creditor
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17   and against the Garnishee Defendant in the sum of $2,962.90;

18          2.      Upon payment by the Garnishee of the aforementioned sum to the registry of this
19   Court, the Garnishee shall be automatically discharged from this action.
20
            3.      Upon receipt of the aforementioned payment from the Garnishee, the Clerk is
21
     authorized and directed to draw a check on the funds on deposit in the registry of this court in
22
     the principal amount of $2,962.90, plus all accrued interest, minus any statutory user fees,
23

24   payable to Western Conference of Teamsters Pension Trust Fund and mail or deliver the check

25   to Reid, McCarthy, Ballew & Leahy, LLP, ATTN: Russell J. Reid, 100 West Harrison Street,
26   North Tower, Suite 300, Seattle, WA 98119.
27
     ORDER DIRECTING ENTRY
28   OF JUDGMENT - 2
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 1          4.      Upon receipt of said sum, Judgment Creditor’s attorney shall cause an appropriate
 2   satisfaction of judgment to be filed in the underlying action as to the principal
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     Defendant/Judgment Debtor.
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 6          Dated this 18th day of September, 2020.

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                                                       Robert S. Lasnik
 9                                                     United States District Judge
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     ORDER DIRECTING ENTRY
28   OF JUDGMENT - 3
